 Case 2:20-cr-00322-ODW Document 28 Filed 01/22/21 Page 1 of 3 Page ID #:132



 1   Vicki I. Podberesky (SBN 123220)
     vpod@aplaw.law
 2   ANDRUES/PODBERESKY
     818 West 7th Street, Suite 960
 3   Los Angeles, CA 90017
     Telephone: (213) 395-0400
 4   Facsimile: (213) 395-0401
 5   Attorneys for Defendant,
     RAMON ABBAS
 6
 7
 8                         UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                Case No. 20-CR-00322 ODW
12                Plaintiff,                  NOTICE OF MOTION AND MOTION
13                                            TO WITHDRAW AS COUNSEL
           vs.
14                                            DATE :       February 22, 2021
     RAMON ABBAS,                             TIME:        10:00 a.m.
15                                            CTRM:        5D
                  Defendant.
16
17
18         PLEASE TAKE NOTICE THAT on February 22, 2021 at 10:00 a.m., or as
19   soon thereafter as the matter may be heard, Counsel for Defendant Ramon Abbas, will
20   move this Court for an Order for permission to withdraw as counsel of record in the
21   above-captioned matter. The grounds in support of this motion to withdraw are set
22   forth in the Declaration of Gal Pissetzky, filed concurrently herewith.
23         This Motion is made pursuant to Local Rule of Criminal Procedure 44-1 and is
24   based upon the Notice of Motion, the Declaration of Gal Pissetzky filed concurrently
25   herewith, and any such further evidence or argument which may be presented at a
26   hearing on this Motion.
27
28


                                MOTION TO WITHDRAW AS COUNSEL
 Case 2:20-cr-00322-ODW Document 28 Filed 01/22/21 Page 2 of 3 Page ID #:133



 1                 MEMORANDUM OF POINTS AND AUTHORITIES
 2         In June, 2020, an arrest warrant was issued in Central District of California for
 3   Ramon Abbas. Mr. Abbas was apprehended in Dubai and transported to the United
 4   States. An initial appearance and removal proceedings were held on or about July 3,
 5   2020 in the United States District Court for the Northern District of Illinois. At that
 6   time Mr. Abbas was ordered detained and was remanded into the custody of the U.S.
 7   Marshal. The defendant was ordered to appear in the District Court for the Central
 8   District of California. Counsel Gal Pissetzky was subsequently retained by the family
 9   of Mr. Abbas on or about July 13, 2020. The defendant was transferred to the Central
10   District and on or about July 23, 2020 Attorney Pissetzky sought and was granted
11   permission to appear in this district pro hac vice and designated Vicki Podberesky as
12   local counsel. [Doc. 57]. Ms. Podberesky was retained to act only in the capacity of
13   local counsel.
14         Attorney Pissetzky now moves this Court for an order allowing him to
15   withdraw as counsel of record and to relieve Ms. Podberesky as local counsel for Mr.
16   Abbas. The Attorney Pissetzky has been reviewing extensive discovery in this matter,
17   conducting defense investigation into the allegations in this case, and is in the process
18   of preparing pretrial motions. Attorney Pissetzky has spoken with the defendant and
19   his family countless times regarding this matter, and has been negotiating with the
20   government in an attempt to resolve this case. See Declaration of Gal Pissetzky. Due
21   to the COVID pandemic Attorney Pissetzky has not been able to travel from Chicago
22   to Los Angeles to meet with Mr. Abbas, and has relied on telephone conversations and
23   several visits by Ms. Podberesky to the Santa Ana Jail, where Mr. Abbas is currently
24   housed, to review discovery with him and communicate the status of the case
25   negotiations with the government.
26         However, over the past few weeks the relationship between the attorneys, the
27   defendant and his family have deteriorated. Irreconcilable disagreements regarding
28   the theory of defense and other issues relating to this case have developed over the last
                                                 2
                                MOTION TO WITHDRAW AS COUNSEL
 Case 2:20-cr-00322-ODW Document 28 Filed 01/22/21 Page 3 of 3 Page ID #:134



 1   several weeks between Mr. Abbas and counsel. Id. Mr. Abbas has now stopped
 2   communicating with counsel altogether, despite Attorney Pissetzky conveying
 3   numerous messages with family as well as staff at the Santa Ana Jail to have Mr.
 4   Abbas call him.
 5         Consequently, counsel is unable to communicate with the Defendant in an
 6   effective manner to be able to prepare an effective defense and counsel him properly.
 7   Given the complete breakdown in communication, at this time Mr. Abbas would most
 8   likely benefit from a different counsel.
 9         On January 21, 2021, Mr. Abbas finally contacted Attorney Pissetzky and
10   informed him that he is retaining new counsel. The attorneys do not believe they can
11   continue to represent Mr. Abbas, and do not want to jeopardize his Constitutional
12   rights under the Sixth Amendment.
13         Therefore, Mr. Pissetzky and Ms. Podberesky respectfully request that this
14   Honorable Court grant their motion to withdraw as counsel of record and local
15   counsel for Mr. Abbas in this matter.
16
     DATED: January 21, 2021                    Respectfully submitted,
17
                                                ANDRUES/PODBERESKY,
18                                              A Professional Law Corporation
19
20                                        By: /s/ Vicki I. Poberesky
                                               VICKI I. PODBERESKY
21                                            Local Counsel for Defendant,
                                              RAMON ABBAS
22
23   DATED: January 21, 2021                    Respectfully submitted,
24                                              PISSETZKY & BERLINER LLC
25
26
                                          By: /s/ Gal Pissetzky
27                                            GAL PISSETZKY
                                              Attorneys for Defendant,
28                                            RAMON ABBAS

                                                  3
                                MOTION TO WITHDRAW AS COUNSEL
